          Case 1:20-vv-01848-UNJ Document 38 Filed 07/18/22 Page 1 of 2




    In the United States Court of Federal Claims
                                 OFFICE OF SPECIAL MASTERS
                                         No. 20-1848V
                                        UNPUBLISHED


    DEBRA HEAGLE,                                           Chief Special Master Corcoran

                        Petitioner,                         Filed: June 16, 2022
    v.
                                                            Special Processing Unit (SPU);
    SECRETARY OF HEALTH AND                                 Ruling on Entitlement; Concession;
    HUMAN SERVICES,                                         Table Injury; Tetanus Diphtheria
                                                            acellular Pertussis (Tdap) Vaccine;
                       Respondent.                          Influenza (Flu) Vaccine; Shoulder
                                                            Injury Related to Vaccine
                                                            Administration (SIRVA)


Brynna Gang, Kraus Law Group, LLC, Chicago, IL, for Petitioner.

Benjamin Patrick Warder, U.S. Department of Justice, Washington, DC, for
Respondent.

                                   RULING ON ENTITLEMENT 1

       On December 14, 2020, Debra Heagle filed a petition for compensation under the
National Vaccine Injury Compensation Program, 42 U.S.C. §300aa-10, et seq. 2 (the
“Vaccine Act”). Petitioner alleges that she sustained bilateral shoulder injuries related to
vaccine administration (“SIRVA”) as a result of an influenza (“flu”) vaccine in her right arm
and a tetanus, diphtheria, and pertussis (“Tdap”) vaccine in her left arm. Petition at 1-2.
Petitioner further alleges that the vaccine was administered within the United States, that
she suffered the residual effects of her injury for more than six months, and that there has


1
  Because this unpublished Ruling contains a reasoned explanation for the action in this case, I am required
to post it on the United States Court of Federal Claims' website in accordance with the E-Government Act
of 2002. 44 U.S.C. § 3501 note (2012) (Federal Management and Promotion of Electronic Government
Services). This means the Ruling will be available to anyone with access to the internet. In accordance
with Vaccine Rule 18(b), Petitioner has 14 days to identify and move to redact medical or other information,
the disclosure of which would constitute an unwarranted invasion of privacy. If, upon review, I agree that
the identified material fits within this definition, I will redact such material from public access.
2
 National Childhood Vaccine Injury Act of 1986, Pub. L. No. 99-660, 100 Stat. 3755. Hereinafter, for ease
of citation, all section references to the Vaccine Act will be to the pertinent subparagraph of 42 U.S.C. §
300aa (2012).
         Case 1:20-vv-01848-UNJ Document 38 Filed 07/18/22 Page 2 of 2




been no award or settlement on her behalf as the result of her injury. Petition at 13. The
case was assigned to the Special Processing Unit of the Office of Special Masters.

        On June 14, 2022, Respondent filed his Rule 4(c) report in which he concedes that
Petitioner is entitled to compensation in this case. Respondent’s Rule 4(c) Report and
Proffer on Damages at 1. Specifically, Respondent has determined that Petitioner has
satisfied the criteria set forth in the Vaccine Injury Table and the Qualifications and Aids
to Interpretation for a SIRVA. Id. at 6. Respondent further agrees that Petitioner has
satisfied all legal prerequisites for compensation under the Vaccine Act. Id.

       In view of Respondent’s position and the evidence of record, I find that
Petitioner is entitled to compensation.

      IT IS SO ORDERED.

                                                        s/Brian H. Corcoran
                                                        Brian H. Corcoran
                                                        Chief Special Master




                                             2
